Case 25-40976              Doc 385      Filed 05/05/25 Entered 05/05/25 17:51:32                 Main Document
                                                   Pg 1 of 24


                                 UNITED STATES BANKRUPTCY COURT
                                   EASTERN DISTRICT OF MISSOURI
                                         EASTERN DIVISION

                                                                   Chapter 11
     In re:
                                                                   Case No. 25-40979-357
                                              1
     23ANDME HOLDING CO., et al.,
                                                                   Jointly Administered
                                        Debtors.                   Hearing Date: June 3, 2025
                                                                   Hearing Time: 1:30 p.m. CDT
                                                                   Hearing Location: Courtroom 5 North
                                                                   Objection Deadline: May 27, 2025 at 4:00 p.m. CDT

                        APPLICATION OF THE OFFICIAL
            COMMITTEE OF UNSECURED CREDITORS FOR ENTRY OF
       AN ORDER AUTHORIZING THE RETENTION AND EMPLOYMENT OF FTI
     CONSULTING, INC. AS FINANCIAL ADVISOR EFFECTIVE AS OF APRIL 10, 2025

                      The Official Committee of Unsecured Creditors (the “Committee”) of the above-

 captioned debtors and debtors in possession (collectively, the “Debtors”), submits this application

 (the “Application”) for the entry of an order, substantially in the form attached hereto (the

 “Proposed Order”), authorizing the employment and retention of FTI Consulting, Inc. (together

 with its wholly owned subsidiaries, “FTI”), as financial advisors for the Committee. In support of

 this Application, the Committee relies on the Declaration of Andrew Scruton (the “Scruton

 Declaration”), filed contemporaneously herewith and attached hereto as Exhibit A, and

 respectfully states as follows:

                                              Jurisdiction and Venue

                      1.      This Court has jurisdiction over this Application pursuant to 28 U.S.C. §§

 157 and 1334. This matter is a core proceeding pursuant to 28 U.S.C. § 157(b).



 1            The Debtors in each of these cases are: 23andMe Holding Co., 23andMe, Inc., 23andMe Pharmacy Holdings,
              Inc., Lemonaid Community Pharmacy, Inc., Lemonaid Health, Inc., Lemonaid Pharmacy Holdings Inc.,
              LPharm CS LLC, LPharm INS LLC, LPharm RX LLC, LPRXOne LLC, LPRXThree LLC, and LPRXTwo
              LLC.
Case 25-40976          Doc 385     Filed 05/05/25 Entered 05/05/25 17:51:32           Main Document
                                              Pg 2 of 24


                  2.        Venue of these proceedings and this Application is proper in this district

 pursuant to 28 U.S.C. § 1408.

                  3.        The predicates for the relief sought herein are sections 327, 328(a) and

 1103(a) of the Bankruptcy Code, Rules 2014(a) and 2016(a) of the Federal Rules of Bankruptcy

 Procedure (the “Bankruptcy Rules”), and rules 2014, 2016, and 9062 of the Local Rules of

 Bankruptcy Procedure for the Eastern District of Missouri (the “Local Rules”).

 A.       General Background

                  4.        On March 23, 2025 (the “Petition Date”), each of the Debtors filed a

 voluntary petition for relief under chapter 11 of the Bankruptcy Code in this Court. The Debtors

 continue to operate their businesses and manage their assets as debtors in possession pursuant to

 Bankruptcy Code sections 1107(a) and 1108. No request for appointment of a trustee or examiner

 has been made in these chapter 11 cases.

                  5.        On April 3, 2025, the Office of the United States Trustee for Region 13

 (the “U.S. Trustee”) appointed a seven-member Committee consisting of: (i) Laboratory

 Corporation of America Holdings; (ii) Workday, Inc.; (iii) Telus International Services Limited;

 (iv) Jellyfish US Limited; (v) Whitney S. Grubb; (vi) Pamela Zager-Maya; and (vii) Michelle

 Igoe.2

                  6.        On April 8, 2025, the Committee selected Kelley Drye & Warren LLP to

 serve as lead counsel and Stinson LLP to serve as co-counsel. On April 10, 2025, the Committee

 selected FTI as its financial advisor.

 B.       FTI’s Qualifications

                  7.        FTI provides services in areas ranging from corporate finance and interim



 2        Docket No. 159.



                                                     2
Case 25-40976        Doc 385    Filed 05/05/25 Entered 05/05/25 17:51:32           Main Document
                                           Pg 3 of 24


 management to economic consulting, forensic and litigation consulting, strategic communications,

 and technology. FTI’s clients include many of the world’s largest public companies and majorities

 of the twenty-five largest banks and one-hundred largest law firms in the world. FTI’s expertise

 includes liquidity and capital structure assessment, debt and equity restructuring advice, and

 identification of reorganization alternatives.

                8.      The Committee is familiar with FTI’s professional standing and reputation.

 FTI has considerable experience in providing financial advisory services in restructurings and

 reorganizations and enjoys an excellent reputation for the results it has obtained for debtors and

 creditors in chapter 11 cases throughout the United States. The Committee requires FTI’s services

 to enable it to assess and monitor the efforts of the Debtors and their professional advisors to

 maximize the value of their estates and to reorganize successfully. Finally, FTI is well qualified

 and able to represent the Committee in a cost-effective, efficient, and timely manner.

 C.     Services to be Rendered

                9.      FTI will provide such financial advisory services to the Committee and its

 legal advisors as they deem appropriate and feasible to advise the Committee in the course of these

 chapter 11 cases, including, but not limited to, the following:

                       Assistance in the review of financial related disclosures required by the
                        Court, including the Schedules of Assets and Liabilities, the Statement of
                        Financial Affairs and Monthly Operating Reports;

                       Assistance in the preparation of analyses required to assess any proposed
                        Debtor-In-Possession (“DIP”) financing or use of cash collateral;

                       Assistance with the assessment and monitoring of the Debtors’ short term
                        cash flow, liquidity, and operating results;

                       Assistance with the review of the Debtors’ proposed employee
                        compensation and benefits programs;

                       Assistance with the review of the Debtors’ potential disposition or
                        liquidation of both core and non-core assets;


                                                  3
Case 25-40976   Doc 385    Filed 05/05/25 Entered 05/05/25 17:51:32             Main Document
                                      Pg 4 of 24


                  Assistance with the review of the Debtors’ cost/benefit analysis with respect
                   to the affirmation or rejection of various executory contracts and leases;

                  Assistance with the review of the Debtors’ identification of potential cost
                   savings, including overhead and operating expense reductions and
                   efficiency improvements;

                  Assistance in the review and monitoring of the asset sale process, including,
                   but not limited to an assessment of the adequacy of the marketing process,
                   completeness of any buyer lists, review and quantifications of any bids;

                  Assistance with review of any tax issues associated with, but not limited to,
                   claims/stock trading, preservation of net operating losses, refunds due to the
                   Debtors, plans of reorganization, and asset sales;

                  Assistance in the review of the claims reconciliation and estimation process;

                  Assistance in the review of other financial information prepared by the
                   Debtors, including, but not limited to, cash flow projections and budgets,
                   business plans, cash receipts and disbursement analysis, asset and liability
                   analysis, and the economic analysis of proposed transactions for which
                   Court approval is sought;

                  Attendance at meetings and assistance in discussions with the Debtors,
                   potential investors, banks, other secured lenders, the Committee and any
                   other official committees organized in these chapter 11 proceedings, the
                   U.S. Trustee, other parties in interest and professionals hired by the same,
                   as requested;

                  Assistance in the review and/or preparation of information and analysis
                   necessary for the confirmation of a plan and related disclosure statement in
                   these chapter 11 proceedings;

                  Assistance in the evaluation and analysis of avoidance actions, including
                   fraudulent conveyances and preferential transfers;

                  Assistance in the prosecution of Committee responses/objections to the
                   Debtors’ motions, including attendance at depositions and provision of
                   expert reports/testimony on case issues as required by the Committee; and

                  Render such other general business consulting or such other assistance as
                   the Committee or its counsel may deem necessary that are consistent with
                   the role of a financial advisor and not duplicative of services provided by
                   other professionals in this proceeding.




                                             4
Case 25-40976          Doc 385   Filed 05/05/25 Entered 05/05/25 17:51:32               Main Document
                                            Pg 5 of 24


 D.      FTI’s Eligibility for Employment

                 10.      FTI has informed the Committee that, to the best of FTI’s knowledge,

 information, and belief, other than as set forth in the Scruton Declaration, FTI: (a) has no

 connection with the Debtors, their creditors, their equity security holders, or other parties in interest

 or their respective attorneys or accountants, the U.S. Trustee, any person employed in the office

 of the U.S. Trustee, or any United States district judge or bankruptcy judge in this district in any

 matter related to the Debtors or their estates; (b) does not hold any interest adverse to the Debtors’

 estates; and (c) believes that it is a “disinterested person” as that term is defined in Bankruptcy

 Code section 101(14). FTI has not provided, and will not provide, any professional services to the

 Debtors, any of the creditors, other parties-in-interest, or their respective attorneys and accountants

 with regard to any matter related to these chapter 11 cases. If any new material facts or

 relationships are discovered or arise, FTI will inform the Court as required by Bankruptcy Rule

 2014(a).

                 11.      FTI has agreed not to share with any person or firm the compensation to be

 paid for professional services rendered in connection with these cases.

 E.      Terms of Retention

                 12.      FTI is not owed any amounts with respect to pre-petition fees and expenses.

                 13.      The Committee understands that FTI intends to apply to the Court for

 allowances of compensation and reimbursement of expenses for its financial advisory services in

 accordance with the applicable provisions of the Bankruptcy Code, the Bankruptcy Rules, the

 Local Rules, orders of this Court, and guidelines established by the United States Trustee.

                 14.      FTI seeks to be compensated on an hourly-fee basis, plus reimbursement of

 actual and necessary expenses incurred by FTI. Actual and necessary expenses would include any

 reasonable legal fees incurred by FTI related to FTI’s retention or preparation of fee applications


                                                    5
Case 25-40976         Doc 385    Filed 05/05/25 Entered 05/05/25 17:51:32            Main Document
                                            Pg 6 of 24


 in these cases, subject to Court approval. FTI understands that interim and final fee awards are

 subject to approval by this Court.

                15.      The customary hourly rates, subject to periodic adjustments, charged by FTI

 professionals anticipated to be assigned to this case are as follows:

                United States                                            Per Hour (USD)
                Senior Managing Directors                                $1,185 - 1,525
                Directors / Senior Directors / Managing Directors           890 - 1,155
                Consultants/Senior Consultants                              485 - 820
                Administrative / Paraprofessionals                          190 - 385

                16.      FTI will maintain records in support of any actual, necessary costs and

 expenses incurred in connection with the rendering of its services in these chapter 11 cases. In the

 event FTI seeks reimbursement for attorneys’ fees during the term of the Debtors’ chapter 11 cases,

 FTI will include the applicable invoices and supporting time records from such attorneys (in

 summary form and redacted for privilege and work product). Such attorneys do not need to have

 been retained under Bankruptcy Code section 327.

                17.      FTI believes that the foregoing fee structure and terms are reasonable and

 comparable to those generally charged by financial advisors and consultants of similar stature to

 FTI for comparable engagements, both in and out of chapter 11.

 F.     Indemnification

                18.      In addition to the foregoing, and as a material part of the consideration for

 the agreement of FTI to furnish services to the Committee pursuant to the terms of this Application,

 FTI believes that the following indemnification terms are customary and reasonable for financial

 advisors in chapter 11 cases:

                a.       subject to the provisions of subparagraphs (b) and (c) below and approval
                         of the Court, the Debtors are authorized to indemnify, and shall indemnify,
                         FTI for any claims arising from, related to, or in connection with FTI’s
                         engagement under this Application, but not for any claim arising from,
                         related to, or in connection with FTI’s performance of any other services


                                                   6
Case 25-40976         Doc 385    Filed 05/05/25 Entered 05/05/25 17:51:32              Main Document
                                            Pg 7 of 24


                         other than those in connection with the engagement, unless such services
                         and indemnification therefor are approved by this Court; and

                b.       the Debtors shall have no obligation to indemnify FTI for any claim or
                         expense that is either (i) judicially determined (the determination having
                         become final) to have arisen primarily from FTI’s gross negligence, willful
                         misconduct, breach of fiduciary duty (if any), bad faith, or fraud, unless the
                         Court determines that indemnification would be permissible pursuant to
                         applicable law, or (ii) settled prior to a judicial determination as to FTI’s
                         gross negligence, willful misconduct, breach of fiduciary duty (if any), bad
                         faith, or fraud, but determined by this Court, after notice and a hearing, to
                         be a claim or expense for which FTI is not entitled to receive indemnity
                         under the terms of this Application; and

                c.       if, before the earlier of (i) the entry of an order confirming a chapter 11 plan
                         in these cases (that order having become a final order no longer subject to
                         appeal), and (ii) the entry of an order closing these chapter 11 cases, FTI
                         believes that it is entitled to the payment of any amounts by the Debtors on
                         account of the Debtors’ indemnification obligations under the Application,
                         including, without limitation, the advancement of defense costs, FTI must
                         file an application in this Court, and the Debtors may not pay any such
                         amounts to FTI before the entry of an order by this Court approving the
                         payment. This subparagraph (c) is intended only to specify the period of
                         time under which the Court shall have jurisdiction over any request for fees
                         and expenses by FTI for indemnification, and not as a provision limiting the
                         duration of the Debtors’ obligation to indemnify FTI.

 The Committee believes that indemnification is customary and reasonable for financial advisors

 in chapter 11 proceedings. See In re Joan & David Halpern, Inc., 248 B.R. 43 (Bankr. S.D.N.Y.

 2000).

                                           Relief Requested

                19.      By this Application, the Committee seeks entry of the Proposed Order

 authorizing the Committee to employ and retain FTI as its financial advisor pursuant to Bankruptcy

 Code section 1103.

                                      Basis for Relief Requested

                20.      The Committee seeks approval of the Application pursuant to Bankruptcy

 Code section 1103. Bankruptcy Code section 1103(a) provides, in relevant part, that a creditors’



                                                    7
Case 25-40976         Doc 385   Filed 05/05/25 Entered 05/05/25 17:51:32            Main Document
                                           Pg 8 of 24


 committee, with the Court’s approval, “may select and authorize the employment by such

 committee of one or more attorneys, accountants, or other agents, to represent or perform services

 for such committee.” 11 U.S.C. § 1103(a). The employment of FTI and its professionals by the

 Committee are reasonable and in line with the terms and conditions typical for engagements of

 this size and character. Because the Committee will require substantial assistance with these

 chapter 11 cases, it is reasonable for the Committee to seek to employ and retain FTI to serve as

 its financial advisor on the terms and conditions in this Application.

                21.      Bankruptcy Code section 328(a) provides, in relevant part, that the

 Committee “with the court’s approval, may employ or authorize the employment of a professional

 person under section 327 or 1103 . . . on any reasonable terms and conditions of employment,

 including on a retainer, on an hourly basis, on a fixed or percentage fee basis, or on a contingent

 fee basis.” 11 U.S.C. § 328(a).

                22.      FTI’s fee structure is fair and reasonable in light of the services being

 provided and commensurate with the fee structures generally offered by firms of similar stature to

 FTI for comparable engagements. In addition, given the numerous issues FTI may need to address

 during these chapter 11 cases, FTI’s commitment to the variable level of time and effort necessary

 to address all such related issues as they arise, and the market prices for FTI’s services for

 engagements of this nature in an out-of-court context, the Committee has determined that the FTI

 fee arrangement is fair and reasonable.

                23.      Finally, to the best of the Committee’s knowledge, information, and belief,

 FTI does not have any interest materially adverse to the Debtors’ estates or any class of creditors

 or equity security holders, by reason of any direct or indirect relationship to, connection with, or

 interest in, the Debtors, or for any other reason. Further, the Committee understands that FTI




                                                  8
Case 25-40976         Doc 385   Filed 05/05/25 Entered 05/05/25 17:51:32              Main Document
                                           Pg 9 of 24


 believes it is disinterested because, to the best of FTI’s knowledge, information, and belief, FTI

 has no connection with the Debtors, their creditors, or any other party-in-interest, except as

 disclosed in the Scruton Declaration.

                                     No Duplication of Services

                24.      The services that FTI will provide to the Committee will be appropriately

 directed by the Committee and its counsel so as to avoid duplication of efforts among the other

 professionals retained in these chapter 11 cases and performed in accordance with applicable

 standards of the profession. FTI will work collaboratively with the Committee and other

 professionals employed by the Committee to avoid duplication of services. The Committee

 believes that the services to be provided by FTI will complement and will not be duplicative of

 any services of the Committee’s other professionals.

                                          No Prior Request

                25.      No prior Application for the relief requested herein has been made to this

 or any other Court.

                                                Notice

                26.      Notice of this Application has been provided to the following parties:

 (a) counsel to the Debtors; (b) the Debtors’ authorized claims and noticing agent, Kroll

 Restructuring Administration LLC; (c) the U.S. Trustee; (d) JMB Capital Partners Lending, LLC,

 the lender under the Debtors’ postpetition financing facility, along with its counsel; (e) the holders

 of the 30 largest unsecured claims against the Debtors (on a consolidated basis); (f) the law firms

 representing plaintiffs who have filed or asserted claims arising out of the Cyber Security Incident

 as of the Petition Date; (g) the United States Attorney’s Office for the Eastern District of Missouri;

 (h) the Internal Revenue Service; (i) the Securities and Exchange Commission; (j) the state

 attorneys general in all 50 states; and (k) any party that has requested notice pursuant to Bankruptcy


                                                   9
Case 25-40976      Doc 385      Filed 05/05/25 Entered 05/05/25 17:51:32          Main Document
                                           Pg 10 of 24


 Rule 2002. Because of the nature of the relief requested, the Committee respectfully submits that

 no further notice of the Application is necessary or required.




                                                 10
Case 25-40976       Doc 385       Filed 05/05/25 Entered 05/05/25 17:51:32                    Main Document
                                             Pg 11 of 24


                                              CONCLUSION

                WHEREFORE, the Committee requests that the Court enter an order:

 (i) authorizing the Committee to employ FTI as financial advisor effective as of April 10, 2025;

 (ii) authorizing payment of such compensation to FTI as may be allowed by this Court; and

 (iii) granting such other and further relief as the Court may deem just and proper.


 Dated: May 5, 2025
                                         Respectfully submitted,
                                         THE OFFICIAL COMMITTEE OF UNSECURED
                                         CREDITORS OF 23ANDME HOLDING CO., et al.

                                         By:
                                         Chairperson of the Official Committee of Unsecured
                                         Creditors of 23andMe Holding Co., et al.3




 3      Under the Bylaws of the Official Committee of Unsecured Creditors of 23andMe Holding Co., et al., Whitney
        S. Grubb, as Chairperson of the Committee, has authority to sign documents on behalf of the Committee as
        appropriate to implement decisions of the Committee made in accordance with the Bylaws.



                                                      11
Case 25-40976   Doc 385   Filed 05/05/25 Entered 05/05/25 17:51:32   Main Document
                                     Pg 12 of 24


                                   EXHIBIT A

                                Scruton Declaration
Case 25-40976             Doc 385    Filed 05/05/25 Entered 05/05/25 17:51:32            Main Document
                                                Pg 13 of 24


                           IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE EASTERN DISTRICT OF MISSOURI
                                       EASTERN DIVISION


     In re:                                                  Chapter 11

     23ANDME HOLDING CO., et al.,1                           Case No. 25-40979-357

                                      Debtors.               Jointly Administered



              DECLARATION OF ANDREW SCRUTON IN SUPPORT OF THE
            APPLICATION FOR AN ORDER AUTHORIZING THE RETENTION
             AND EMPLOYMENT OF FTI CONSULTING, INC. AS FINANCIAL
         ADVISOR TO THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS

                     Pursuant to 28 U.S.C. section 1746, Andrew Scruton, declares as follows:

                     1.      I am a Senior Managing Director with FTI Consulting, Inc. (together with

 its wholly owned subsidiaries, “FTI”), an international consulting firm. I submit this declaration

 (the “Declaration”) on behalf of FTI in support of the application (the “Application”) of the

 Official Committee of Unsecured Creditors (the “Committee”) of the above-captioned debtors and

 debtors-in-possession (collectively, the “Debtors”), for entry of an order authorizing the

 employment and retention of FTI as financial advisor to the Committee under the terms and

 conditions set forth in the Application. I am generally familiar with the Bankruptcy Code and the

 Bankruptcy Rules. Except as otherwise noted, I have personal knowledge of the matters set forth

 herein, and, if called as a witness, I would testify thereto.2




 1            The Debtors in each of these cases are: 23andMe Holding Co., 23andMe, Inc., 23andMe Pharmacy
              Holdings, Inc., Lemonaid Community Pharmacy, Inc., Lemonaid Health, Inc., Lemonaid Pharmacy
              Holdings Inc., LPharm CS LLC, LPharm INS LLC, LPharm RX LLC, LPRXOne LLC,
              LPRXThree LLC, and LPRXTwo LLC. The Debtors’ service address for purposes of these chapter
              11 cases is: 870 Market Street, Room 415, San Francisco, CA 94102.
 2
              Certain of the disclosures herein relate to matters within the personal knowledge of other
              professionals at FTI and are based on information provided by them.
Case 25-40976             Doc 385      Filed 05/05/25 Entered 05/05/25 17:51:32            Main Document
                                                  Pg 14 of 24


                                        Disinterestedness and Eligibility

                     2.        In connection with the preparation of this Declaration, FTI conducted a

 review of its contacts with the Debtors, their affiliates, and certain entities holding large claims

 against, or equity interests in, the Debtors that were made reasonably known to FTI. A listing of

 the parties reviewed is reflected on Exhibit A to this Declaration. FTI’s review, completed under

 my supervision, consisted of a query of the Exhibit A parties within an internal computer database3

 containing names of individuals and entities that are present or recent former clients of FTI. A

 listing of such relationships that FTI identified during this process is set forth on Exhibit B to this

 Declaration.

                     3.        Based on the results of its review, except as otherwise discussed herein, FTI

 does not have a relationship with any of the parties on Exhibit A in matters related to the Debtors

 or these proceedings. FTI has provided, and could reasonably expect to continue to provide,

 services unrelated to the Debtors’ cases for the various entities shown on Exhibit B. FTI’s

 assistance to these parties has been related to providing various financial restructuring, litigation

 support, technology, strategic communications, and economic consulting services. To the best of

 my knowledge and except as otherwise disclosed herein, no services have been provided to these

 parties in interest that involve their rights in the Debtors’ cases, nor does FTI’s involvement in

 these cases compromise its ability to continue such consulting services.

                     4.        In addition to the relationships disclosed on Exhibit B, FTI discloses the

 following:

                          a.      For a brief period in March 2024, FTI’s forensic and litigation
                                  consulting segment (“FTI FLC”) was engaged by Greenberg Traurig
                                  LLP (“Greenberg”) in connection with its representation of Debtor

 3
          For the avoidance of doubt, FTI’s computer database covers FTI Consulting, Inc. and its wholly
          owned subsidiaries globally.

                                                         2
 4926-6503-5836v.2
Case 25-40976             Doc 385      Filed 05/05/25 Entered 05/05/25 17:51:32           Main Document
                                                  Pg 15 of 24


                                  23andMe, Inc. (“23andMe”) to conduct certain “dark web” searches in
                                  connection with a 23andMe data breach and provide the results of those
                                  searches to Greenberg. FTI believes that this engagement does not (x)
                                  compromise its ability to provide services to the Committee in these
                                  chapter 11 cases or (y) represent an adverse interest with respect to the
                                  Debtors’ estates.

                          b.      From September 2020 until August 2021, FTI Consulting (SC), Inc.
                                  (“FTC SC”), a wholly owned subsidiary of FTI, was engaged by VG
                                  Acquisition Corp. to provide integrated communications services. On or
                                  about June 16, 2021, VG Acquisition Corp. completed a business
                                  combination with Debtor 23andMe. FTI did not advise the Company on
                                  the merits of the transaction and believes that this engagement does not
                                  (x) compromise its ability to provide services to the Committee in these
                                  chapter 11 cases or (y) represent an adverse interest with respect to the
                                  Debtors’ estates.

                     5.        As part of its diverse practice, FTI appears in numerous cases, proceedings,

 and transactions that involve many different professionals, including attorneys, accountants, and

 financial consultants, who may represent claimants and parties-in-interest in the Debtors’ chapter

 11 cases. Also, FTI has performed in the past, and may perform in the future, advisory consulting

 services for various attorneys and law firms, and has been represented by several attorneys and

 law firms, some of whom may be involved in these proceedings. In addition, FTI has in the past,

 may currently, and will likely in the future be working with or against other professionals involved

 in these chapter 11 cases in matters unrelated to the Debtors and these cases. Based on our current

 knowledge of the professionals involved, and to the best of my knowledge, none of these

 relationships create interests adverse to the Debtors’ estates and none are in connection with the

 Debtors’ chapter 11 cases.

                     6.        FTI is not a “creditor” of any of the Debtors within the meaning of

 Bankruptcy Code section 101(10). Further, neither I, nor any other member of the FTI engagement

 team serving the Committee, to the best of my knowledge, (a) is a creditor, equity security holder,

 or insider of the Debtors; (b) is or has been within two years before the Petition Date, a director,


                                                        3
 4926-6503-5836v.2
Case 25-40976             Doc 385   Filed 05/05/25 Entered 05/05/25 17:51:32           Main Document
                                               Pg 16 of 24


 officer, or employee of the Debtors; or (c) has any interest materially adverse to the interests of

 the Debtors’ estates or of any class of creditors or equity security holders, by reason of any direct

 or indirect relationship to, connection with, or interest in, the Debtors, or for any other reason. As

 such, to the best of my knowledge, and based upon the results of the relationship search described

 above and disclosed herein, FTI (i) is a “disinterested person” as defined in Bankruptcy Code

 section 101(14) and (ii) does not hold or represent any interest adverse to the Debtors’ estates.

 Therefore, FTI believes it is eligible to represent the Committee under Bankruptcy Code section

 1103(b).

                     7.      It is FTI’s policy and intent to update and expand its ongoing relationship

 search for additional parties in interest in an expedient manner. If any new material relevant facts

 or relationships are discovered or arise, FTI will file a supplemental declaration pursuant to

 Bankruptcy Rule 2014(a).

                                        Professional Compensation

                     8.      Subject to Court approval and in accordance with the applicable provisions

 of the Bankruptcy Code, Bankruptcy Rules, the local rules of this District, orders of this Court,

 and applicable U.S. Trustee guidelines, FTI will seek payment for compensation on an hourly

 basis, plus reimbursement of actual and necessary expenses incurred by FTI, including legal fees

 related to the preparation of the Application (if any), as approved by the Court. FTI’s customary

 hourly rates as charged in bankruptcy and non-bankruptcy matters of this type by the professionals

 assigned to this engagement are outlined in the Application. These hourly rates are adjusted

 periodically, typically on an annual basis. I believe that the fee structure as set forth in the

 Application is reasonable and comparable to those generally charged by financial advisors and

 consultants of similar stature to FTI for comparable engagements, both in and out of chapter 11.



                                                      4
 4926-6503-5836v.2
Case 25-40976              Doc 385   Filed 05/05/25 Entered 05/05/25 17:51:32         Main Document
                                                Pg 17 of 24


                     9.       To the extent FTI utilizes independent or third party contractors or

 subcontractors (the “Contractors”) in the provision of services to the Committee, FTI will (i) pass

 through the fees of such Contractors at the same rate that FTI pays the Contractors and (ii) seek

 reimbursement for actual costs of the Contractors only. In addition, FTI will ensure that each

 Contractor will file a separate declaration evidencing its disinterestedness in these chapter 11 cases

 as required by the Bankruptcy Code and Bankruptcy Rules.

                     10.      According to FTI’s books and records, during the ninety days before the

 Petition Date, FTI did not receive any payments from the Debtors.

                     11.      To the best of my knowledge, (a) no commitments have been made or

 received by FTI with respect to compensation or payment in connection with these cases other

 than in accordance with the provisions of the Bankruptcy Code and (b) FTI has no agreement with

 any other entity to share with such entity any compensation received by FTI in connection with

 these chapter 11 cases.

                                         No Duplication of Services

                     12.      The Committee and FTI intend that FTI’s services will be appropriately

 directed by the Committee so as to avoid duplication of efforts among the other professionals

 retained by the Committee in these chapter 11 cases and performed in accordance with applicable

 standards of the profession. FTI will work collaboratively with the Committee’s other

 professionals to avoid duplication of services among professionals. I believe that the services to

 be provided by FTI will complement and will not be duplicative of any services of the Committee’s

 other professionals.




                                                      5
 4926-6503-5836v.2
Case 25-40976        Doc 385    Filed 05/05/25 Entered 05/05/25 17:51:32      Main Document
                                           Pg 18 of 24


 I declare under penalty of perjury that the foregoing is true and correct.

 Executed on May 5, 2025                        /s/ Andrew Scruton
                                               Andrew Scruton




                                                   6
 4926-6503-5836v.2
Case 25-40976        Doc 385     Filed 05/05/25 Entered 05/05/25 17:51:32        Main Document
                                            Pg 19 of 24


                                           EXHIBIT A

            Parties-in-Interest Reviewed for Current and Recent Former Relationships



 Debtors                                            Smith Drug Company-Division Of JM Smith
 23andMe Holding Co.                                Corp.
 23andme Pharmacy Holdings, Inc.                    U.S. Bank Equipment Finance
 23andMe, Inc.
 Lemonaid Community Pharmacy
 Lemonaid Community Pharmacy, Inc.                  Official Creditors' Committee Members
 Lemonaid Health, Inc.                              Jellyfish US Limited
 Lemonaid Pharmacy Holdings, Inc.                   Michelle Igoe
 LPharm CS LLC                                      Pamela Zager-Maya
 LPharm INS LLC                                     Whitney S. Grubb
 LPharm RX LLC                                      Laboratory Corporation of America Holdings
 LPRXOne LLC                                        Telus International Services Limited
 LPRXThree LLC                                      Workday, Inc.
 LPRXTwo LLC
 VG Acquisition Corp.                               Top Unsecured Creditors
                                                    221 N Mathilda, LLC
 Debtor's Advisors                                  Advanced Chemical Transport
 Alvarez & Marsal North America, LLC                Aganitha AI Inc.
 Carmody MacDonald P.C.                             ALOM Technologies
 Moelis & Company                                   Braintree
 Goodwin Procter LLP                                Converge Technology Solutions US, LLC
 Lewis Rice                                         Datasite LLC
 Paul, Weiss, Rifkind, Wharton & Garrison LLP       Fulgent Therapeutics, LLC
                                                    Google, Inc. Adwords
 Director/Officer                                   Jellyfish US Limited
 Andre Fernandez                                    Juice Media, Inc.
 Avi Factor                                         Kaiser Foundation Health Plan Northern CA
 Eland Siddle                                       Katie Couric Media, LLC
 Guy Chayoun                                        KR OP Tech LLC
 Jim Frankola                                       Linkedin Corporation
 Joe Selsavage                                      Migliaccio & Rathod LLP
 Mark Jensen                                        Movianto
 Thomas Walper                                      Natinal Genetics Institute
                                                    NGI Labcorp
 Significant Equity Holder                          Power Digital Marketing, Inc.
 ABeeC 2.0, LLC                                     Right Side Up LLC
 Anne Wojcicki                                      Surefox North American
 Zentree Investments Limited                        Woot Services LLC
 GSK plc
                                                    Known Affiliates
 Banks/Lender/UCC Lien                              LMND CA
 Parties/Administrative Agents                      LMND Canada
 Cardinal Health 110 LLC                            LMND KS
                                                    LMND NJ


                                                1
 4926-6503-5836v.2
Case 25-40976        Doc 385     Filed 05/05/25 Entered 05/05/25 17:51:32         Main Document
                                            Pg 20 of 24


 LMND TX                                           Milberg Coleman Bryson Phillips Grossman
                                                   Milberg Coleman Bryson Phillips Grossman
 Landlords/ Subtenants                             LLC
 KR Op Tech, LLC                                   Pierce Gore Law Firm
 Oyster Point Tech Center LLC                      Potter Handy LLP
                                                   Poulin Willey Anastopoulo, LLC
 Lender                                            Reese LLP
 JMB Capital Partners                              Saltz, Mongeluzzi & Bendesky, PC
                                                   Schubert Jonckheer & Kolbe LLP
 Letter of Credit- Beneficiary                     Srourian Law Firm, P.C.
 221 N Mathilda, LLC                               The Grant Law Firm, PLLC
                                                   The Mehdi Firm LLP
 Counsel Representing Cyber Security               Tostrud Law Group Pc
 Incident Claimants                                Tycko & Zavareei, LLP
 Aron Law Firm                                     Wolf Haldenstein Adler Freeman & Herz LLP
 Aylstock, Witkin, Kreis, & Overholtz PLLC         Wucetich & Korovilas LLP
 Barnow & Associates P.C.                          Yanni Law
 Berman Tobacco                                    Zinns Law, LLC
 Bottini & Bottini, Inc.
 Bradley Grombacher LLP                            Customers
 Clarkson Law Firm                                 Amazon Woot
 Clayeo C. Arnold Professional Law Corp.           Michael J Fox Foundation
 Cole & Van Note                                   Myheritage
 Cotchett Pitre & McCarthy LLP                     Walmart.Com
 Cuneo Gilbert & Laduca
 Du Vernet Stewart                                 Financial Advisor To Potential Buyer
 Edelsberg Law, P.A.                               TD Cowen
 Employee Justice Legal Group, PC
 Falls Law Group                                   Insurance
 Federman & Sherwood                               AIG Financial Lines Claims
 Gustafson Gluek PLLC                              Berkley Life Sciences
 Herman Jones LLP                                  CNA Claims Reporting
 Kantrowitz, Goldhamer & Graifman, P.C.            Commercial Management Liability
 Kaplan Fox & Kilsheimer LLP                       HCC Global Financial Products, LLC.
 Kazerouni Law Group                               Lloyd’s America, Inc.
 Kleine PC                                         Old Republic Professional Liability, Inc.
 Kopelitz Ostrow Ferguson Weiselberg Gilbert       Resilience Cyber Insurance Solutions
 KP Law Ltd. (UK)                                  The Hartford Financial Lines
 Laukaitis Law LLC                                 Trium Cyber Us Services, Inc.
 Law Office Of Courtney Weiner PLLC                Woodruff Sawyer
 Law Offices Of Paul Whalen, Pc                    XL Professional Insurance
 Levi & Korsinsky
 Levin Sedran & Berman LLP                         Litigation
 Lexington Law Group, LLP                          Adriane Farmer
 Lieff Cabraser Heimann & Bernstein And            Alex Velarde
 Robbins Geller                                    Alexandra Hoffman
 Loftus & Eisenberg, Ltd.                          Almeida Law Group LLC
 Longman Law, P.C.                                 Alyson Hu
 Lynch Carpenter LLP                               Andez Jones
 Mason LLP                                         Antoinette Powell
 McShane & Brady, LLC                              Bonnie Eden

                                               2
 4926-6503-5836v.2
Case 25-40976        Doc 385     Filed 05/05/25 Entered 05/05/25 17:51:32        Main Document
                                            Pg 21 of 24


 Brandon Molina                                    Nichole Friend
 Briana Dube                                       Patrick Capstick
 Brianna Sorensen                                  Polina Ioffe
 Camie Picha                                       Potter Handy, LLP
 Carlin McGoogan                                   Richard Roe
 Caroline Greenberg                                Rudy K. Thompson
 Carolyn Rock                                      Sarah Cantu
 Casey Gerry Schenk Francavilla Blatt &            Stephen L. Seikel
 Penfield, LLP                                     Steve Siegel Hanson LLP
 Christina Shaw                                    Thomas Vickery
 Christopher Du Vernet                             Tracy Scott
 Claire Paddy                                      Trisha Wilkus
 David Melvin                                      Tyrell Brown
 David Tulchinsky
 Dhaman Gill                                       Regulators
 Du Vernet Stewart Barristers And Solicitors       Agencia Española De Protección De Datos
 Elaine Fralix                                     Office of Attorney General Todd Rokita
 Erik Stanford                                     Office of The Attorney General - Connecticut
 Falls Law Group                                   Office of The Privacy Commissioner Of Canada
 Haris Mirza                                       United Kingdom Information Commissioner’s
 Harold Garrett                                    Office
 Harold Velez
 John Diaz                                         U.S. Trustee Office for the Eastern District of
 Julie Macmillan                                   Missouri
 Kathy Vasquez                                     Barbara J. Dorsey
 Katianne Navarro                                  Carole Ryczek
 Kerry Lamons                                      Joshep Schlotzhauer
 KND Complex Litigation                            Kathy Lickenbrock
 KP Law Limited                                    Margaret E. Slaughter
 Kristen Rivers                                    Melissa L. Schott
 Laquisha Smith                                    Paul Randolph
 Leena Yousefi Ylaw Group                          Saronda T. Gillespie
 Levi & Korsinsky LLP                              Sirena Wilson
 Luis Valladares
 Marjorie Morgenstern                              Vendors (Top 85% Of Accounts Payable)
 Matthew A. Smith                                  ACCO Engineered Systems
 Matthew Marden                                    Aganitha Ai Inc.
 Max Alperstein                                    AlixPartners, LLC
 Mcguire Law, P.C.                                 Alom Technologies Corporation
 Melanie Berman                                    Andre John Fernandez
 Melissa Ryan                                      Braintree
 Michael Schutz                                    Catalent CTS Singapore Private Limited
 Michele Bacus                                     CDW Direct LLC
 Michelle Andrizzi                                 Cloudflare, Inc.
 Michelle Igoe                                     Coalition For Genetic Data Protection Inc.
 Migliaccio & Rathod LLP                           Consulting, JW LLC
 Milberg Coleman Bryson Phillips Grossman          Converge Technology Solutions US, LLC
 PLC                                               DNA Genotek Inc.
 Monica Santana                                    Egon Zehnder International, Inc
 Neil Benedict                                     Folk Devils LLC
 Nicholas Furia                                    Fooda, Inc.

                                               3
 4926-6503-5836v.2
Case 25-40976        Doc 385    Filed 05/05/25 Entered 05/05/25 17:51:32      Main Document
                                           Pg 22 of 24


 Fulgent Therapeutics, LLC                        Tatari, Inc.
 GlaxoSmithKline Intellectual Property Ltd.       TCWGlobal
 Google Adwords                                   Unum Life Insurance Company Of America
 Healthline Media Inc                             Ventana Medical Systems, Inc.
 IHeartMedia + Entertainment                      WMBE Payrolling Inc.
 Integral Rx                                      Woodruff-Sawyer & Co.
 Jellyfish Us Limited                             Woot Services LLC
 Kaiser Foundation Health Plan Northern Ca        World Archives
 Katie Couric Media, LLC                          Wuxi Biologics (Hong Kong) Limited
 L.E.K. Consulting LLC                            Zendesk, Inc
 Lifebit Biotech Limited
 Mark E. Jensen                                   Bankruptcy Judges and Staff for the Eastern
 Medpace Inc.                                     District of Missouri
 Movianto                                         Bonnie L. Clair
 National Genetics Institute                      Brian C. Walsh
 Partnerize                                       Catherine Norwood
 Peter M Lefkowitz                                Chicquita Greene-Hester
 Power Digital Marketing, Inc.                    Courtney Kirbis
 Precision For Medicine, Inc.                     Hayley Koontz
 Priti Patel Consulting LLC                       Kaila Spivey
 Rain The Growth Agency                           Kathy A. Surratt-States
 Right Side Up LLC                                Taylor Rowland
 Santa Clara County Tax Collector
 Scale Strategy Operations LLC                    Bankruptcy Professionals - Retained
 SCG Grove 221, LLC                               Alvarez And Marsal North America, LLC
 Steadymd, Inc.                                   Carmody Macdonald P.C.
 Surefox North American                           Deloitte Tax LLP
 Tango Card, Inc.                                 Kroll Restructuring Administration LLC




                                              4
 4926-6503-5836v.2
Case 25-40976        Doc 385   Filed 05/05/25 Entered 05/05/25 17:51:32         Main Document
                                          Pg 23 of 24


                                           EXHIBIT B

                         Parties-in-Interest Noted for Court Disclosure

 Relationships in Matters Related to These Proceedings

 None



 Relationships in Unrelated Matters - Current

 Debtor's Advisors                                  Scott+Scott Attorneys At Law LLP
 Goodwin Procter LLP
 Lewis Rice                                         Customers
 Paul, Weiss, Rifkind, Wharton & Garrison LLP       Abbvie Inc.
                                                    Amazon
 Bankruptcy Professionals - Retained                Amazon CA
 Goodwin Procter LLP                                Amazon UK
 Lewis Rice LLC                                     Cardinal Health, Inc.
 Paul, Weiss, Rifkind, Wharton & Garrison LLP       Coreweave, Inc.
                                                    GlaxoSmithKline & GlaxoSmithKline LLC
 Banks/Lender/UCC Lien                              GSK
 Parties/Administrative Agents                      Sanofi Us Services Inc.
 JPMorgan Chase Bank N.A.
 JPMorgan Chase Bank N.A. - Toronto Branch          Potential Buyer
 U.S. Bank National Association                     New Mountain Capital, LLC

 Significant Equity Holder                          Financial Advisor To Potential Buyer
 GSK plc                                            JPMorgan Securities LLC

 Top Unsecured Creditors                            Legal Counsel To Potential Buyer
 Allied Universal Security Services                 Ropes & Gray LLC
 Blue Shield of California                          Skadden, Arps, Slate, Meagher & Flom LLP
 Coreweave, Inc.                                    Paypal, Inc.
 Delta Dental of California
 Meta Platforms, Inc.                               Insurance
 Telus International Services Limited               Allied World Specialty Insurance Company
 Wilson Sonsini Goodrich & Rosati, PC               Arch Specialty Insurance Company
 Workday, Inc.                                      Axis Insurance
                                                    Beazley USA Services, Inc
 Counsel Representing Cyber Security                Berkley Professional Liability
 Incident Claimants                                 Chubb Group
 Boni, Zack & Snyder LLC                            Chubb Group Of Insurance Co
 Freed Kanner London & Millen LLC                   Great American Insurance Company
 Glancy Prongay & Murray LLP                        Hiscox USA
 Labaton Keller Sucharow LLP                        Hudson Insurance Company
 Lockridge Grindal Nauen P.L.L.P.                   The Travelers Companies, Inc.
 Neal & Harwell
 Robbins Geller Rudman & Dowd, LLP

                                                1
 4926-6503-5836v.2
Case 25-40976        Doc 385     Filed 05/05/25 Entered 05/05/25 17:51:32       Main Document
                                            Pg 24 of 24



 Litigation                                        Amazon Web Services
 Edelson Pc                                        BDO USA LLP
 Keller Rohrback L.L.P.                            Blue Shield Of California
 Labaton Keller Sucharow LLP                       Dechert LLP
                                                   Deloitte & Touche LLP
 Official Creditors' Committee Attorneys           Delta Dental Of California
 Kelley Drye & Warren LLP                          FedEx Corp
 Stinson LLP                                       Goodwin Procter LLP
 Laboratory Corporation of America Holdings        Google, Inc.
 Telus International Services Limited              Greenberg Traurig LLP
 Workday, Inc.                                     iHeartMedia
 Hogan Lovells                                     Illumina, Inc.
 Keller Rohrback LLP                               KPMG LLP
 Labaton Keller Sucharow                           Meta Platforms, Inc.
                                                   Metropolitan Life Insurance Company
 Regulators                                        Morgan, Lewis & Bockius LLP
 Bureau of Consumer Protection                     Pacific Gas And Electric Company
 Federal Trade Commission                          Salesforce.Com
                                                   Telus International Services Limited
 Vendors (Top 85% Of Accounts Payable)             Wilson Sonsini Goodrich & Rosati, Professional
 Allied Universal Security Services                Corporation




 Relationships in Unrelated Matters - Former

 Debtors
 23 And Me
 23andMe, Inc.

 Debtor's Advisors
 Moelis & Company

 Vendors (Top 85% Of Accounts Payable)
 Deloitte Consulting LLP
 Kilroy Realty, LP
 Moelis & Company, LLC

 Bankruptcy Professionals - Retained
 Moelis & Company LLC




                                               2
 4926-6503-5836v.2
